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United States District Court DEC 27 2019
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION David J. Bradley, Clerk
UNITED STATES OF AMERICA
V. CRIMINAL COMPLAINT

Brandi Cavazos Principal Case Number:

YOB: 1998 United States \
Melinda Hernandez Co-Principal M-19- J to -M

YOB: 2001 United States ,

(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about December 26,2019 in | Hidalgo, Texas County, 1n

 

the Southern District of Texas defendants(s) did,

(Track Statutory Language of Offense)

knowing or in reckless disregard of the fact that Jose Guadalupe Sanchez-Rubio, citizen of
Mexico, and Isauro David Diaz-Figueroa, citizen of Honduras, along with six (6) other
undocumented aliens, for a total of eight (8), who had entered the United States in violation of
law, did knowingly transport, or move or attempted to transport said aliens in furtherance of

such violation of law within the United States, that is, from a location in Mission, Texas to the
point of arrest in Mission, Texas.

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(ii) FELONY

I further state that I am a(n) Border Patrol Agent and that this complaint is based on the
following facts: |

On December 26, 2019, camera operators observed several suspected illegal aliens
walking through the brush near the Anzalduas Park main entrance in Mission,
Texas. This area is commonly used by smugglers to pick up illegal aliens due to the |
park being next-to the Rio Grande River.

 

 

SEE ATTACHED
Continued on the attached sheet and made a part of this complaint: [x]lYes [| No
Lt 9 wh ¢ b,. OS,
Vt / fl : Signature of Complainant
Julio C. Pefia _ Border Patrol Agent
Sworn to before me and subscribed in my presence, Printed Name of Complainant
December 27, 2019 3: ¢F% A—~ at McAllen, Texas
7

 

 

Date “Lez
Peter E. Ormsby , , U. S. Magistrate Judge —c é ———

Name and Title of Judicial Officer Signature of Judicial Officer
Case 7:19-m-ONITED STATES DISTRICT COURP Pave 2 of 3
SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS |

ATTACHMENT TO CRIMINAL COMPLAINT:
M-19-3\%0 -M

RE: Brandi Cavazos
Melinda Hernandez

CONTINUATION:

A short time later, camera operators advised mobile Border Patrol Agents that a vehicle
approached the park’s main entrance and the suspected aliens began to board it in a
hurried manner. Additionally, camera operators relayed that one subject was placed in
the vehicle’s trunk. Suspecting that a smuggling attempt was taking place, mobile
agents proceeded to the area and encountered the vehicle as it attempted to leave.

Mobile agents verified with camera operators that the vehicle they were following was
the same one camera operators observed loading with several people. The agents
immediately activated their emergency equipment to conduct a vehicle stop on a silver
Nissan Altima.

The mobile agents approached the Altima and identified the driver as Brandi Cavazos,
who claimed to be a United States Citizen. The front seat passenger was identified as
Melinda Hernandez, a United States Citizen. Agents observed seven (7) more subjects
crammed in the back seat. All seven (7) subjects were determined to be illegally present
in the United States. Agents proceeded to check the trunk and discovered one (1) male
subject who was illegally present in the United States.

At this time, Cavazos was read her Miranda Rights and placed under arrest along with
Hernandez. Both were transported to the McAllen Border Patrol Station to be processed
accordingly. .

PRINCIPAL STATEMENT:
At the station, Brandi Cavazos was read her Miranda Rights. She understood and
agreed to provide a sworn statement without the presence of an attorney.

Cavazos claimed her friend Melinda Hernandez asked her to help her pick up eight
illegal aliens. Cavazos stated her friend Melinda was going to give her $600 to transport
the aliens to Palmview, Texas. Cavazos claimed that Melinda was receiving the
instructions through cell phone as they attempted to pick up the aliens. Once at the
pickup location, Cavazos claimed that Melinda exited the vehicle and instructed the
aliens to board the vehicle.

Cavazos identified Hernandez, through a photo lineup, as her friend Melinda.

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SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
M-19-3\}0 -M

RE: Brandi Cavazos
Melinda Hernandez

CONTINUATION:

CO-PRINCIPAL STATEMENT:
Melinda Hernandez was read her Miranda Rights. She understood, however she refused
to provide a sworn statement without the presence of an attorney.

MATERIAL WITNESSES STATEMENTS:

Jose Guadalupe Sanchez-Rubio and Isauro David Diaz-Figueroa were read their
Miranda Rights. Both understood and agreed to provide a sworn statement without the
presence of an attorney.

Sanchez, a citizen of Mexico, stated he made the smuggling arrangements and was
going to pay $1,500. After crossing the river, Sanchez claimed they were receiving
instructions on where to go. Sanchez stated they proceeded north and then boarded a
gray in color vehicle. Once inside the vehicle, Sanchez stated there was a female
driving the vehicle.

Diaz, a citizen of Honduras, stated he made the smuggling arrangements and was going
to pay $1,000. Diaz stated he crossed the river along with seven (7) other subjects. Diaz
stated the smugglers were communicating with them through his cell phone. Diaz
claimed they were instructed on when to come out of the brush because a vehicle would
be waiting to pick them up. Diaz stated the vehicle was gray in color with four doors
and the driver was a female subject.

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